 1   GARY W. DYER
 2
     Assistant United States Trustee
     United States Dept. of Justice
 3   Office of the United States Trustee
     United States Courthouse
 4   W. 920 Riverside Ave. Room 593
 5   Spokane, Washington 99201
     Telephone (509) 353-2999
 6   Fax (509) 353-3124
 7

 8
                            UNITED STATES BANKRUPTCY COURT
 9                          EASTERN DISTRICT OF WASHINGTON

10

11   In re:                                        }
                                                   }   Case No: 21-00141-WLH11
12   EASTERDAY RANCHES, INC.                       }
                                                   }   APPOINTMENT OF COMMITTEE
13
                                                   }   OF UNSECURED CREDITORS IN A
14
                                   Debtor          }   CHAPTER 11 REORGANIZATION CASE

15
              The United States Trustee hereby appoints the following creditors of the above-named
16
     debtor to the committee of unsecured creditors.
17

18    J.R. Simplot                 Alto Nutrients, LLC            Animal Health International
      Attn: Beth Coonts            Attn: Christopher Wright       Heather Kayser
19    1099 W. Front Street         400 Capitol Mall, Suite 2060   P.O. Box 1240
      Boise, ID 83702              Sacramento, CA 95814           Greeley, CO 80632
20    208-780-8264                 916-403-2130                   970-371-9400
      Beth.coontis@simplot.com     cwright@altoingredients.com    Heather.Kayser@pattersonvet.com
21

22
              D A T E D this 16th day of February, 2021.
23

24                                                     Respectfully submitted,
25
                                                       GREGORY M. GARVIN
26                                                     Acting United States Trustee for Region 18
27

28                                                     /s/ Gary W. Dyer
                                                       GARY W. DYER
                                                       Assistant United States Trustee




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